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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CONRAD SMITH, et al.,

               Plaintiffs,

          v.                                                         Case No. 1:21-cv-02265-APM

TRUMP FOR PRESIDENT, INC., et al.,

                Defendants.

          DEFENDANT HENRY TARRIO’S MOTION TO JOIN DEFENDANT
          KELLY MEGGS’ MOTION FOR PROTECTIVE ORDER AT ECF 150

      Since March 7, 2022, defendant Henry Tarrio has been jailed—first in Miami, then in

venues in the Midwest, South and Mid-Atlantic, and finally back in Miami again. Before that,

from September 2021 through January 2022, he was a resident of the District of Columbia jail for

burning a flag. Tarrio has also been sued in three other civil January 6-related “conspiracy” actions

by all manner of plaintiffs. As a result, over the past eleven months, due to his incarcerations, his

busy jail-related travel itinerary, the civil conspiracy cases, and his four-month long cooperation

(occurring in and out of jail) with the House Select Committee on January 6, Tarrio has not had

the time or resources to participate fully in any of these civil actions; however, he wants to fully

participate in all of them, both to protect himself and to tell his side of the January 6 story. Finally,

it is the undersigned’s understanding that the Department of Justice is still in custody of Tarrio’s

phones, computers, and other digital devices, and apparently is in no hurry to return them to him.

      Most importantly, on December 12, 2022, Tarrio begins a 4- to 6-week jury trial at 21-cr-

175 (Kelly, J.) with four other January 6 defendants featuring oceans of discovery, a busy pre-

trial agenda, a multitude of fact and expert witnesses, and non-stop preparation by Tarrio and his
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Miami-based criminal defense lawyers (not the undersigned) until time of trial. It is expected to

run in to February 2023. Therefore, Tarrio moves to join defendant Kelly Meggs’ Motion for

Protective Order at ECF No. 150 for any reason and in any respect applicable to Tarrio, and further

to delay all discovery in this case until after the criminal trial at 21-cr-175 is concluded.

      Accordingly, and for good cause shown, Tarrio asks that this Motion to Join be granted.

                                               Respectfully submitted,

                                               FOR HENRY TARRIO

Dated: July 22, 2022                           By: /s/ J. Daniel Hull
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                                CERTIFICATE OF SERVICE

      The undersigned certifies that on July 22, 2022, defendant Tarrio’s Motion to Join was filed

and served via the Electronic Case Filing (ECF) system upon all counsel of record.


                                                   By: /s/ J. Daniel Hull
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